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THE UNITED STATES DISTRICT COURT
N()RTHERN DISTRICT OF TEXAS

DALLAS DIVISION
ST. JOHN MISSIONARY BAPTIST §
CHURCH, INC. §
Plaintiff, §
v. § Civil Action No.
GREAT AMERICAN INSURANCE §
COMPANY §
Defendant. §
NOTICE OF REMOVAL

 

Pursuant to 28 U.S.C. § § 1332, 1441 and 1446, Defendant Great American lnsurance
Company (“Defendant” or “Great American”) files this Notice of Removal and, in Support
thereof, shoWs:

l. Great Arnerican is the only defendant in the state court action styled St. JOhn
Mz'ssz'onary Baptist Church, Inc. v. Great Amerz'ccm fnsurance Company, Cause No. DC-16-
08769, in the 162nd District Court of Dallas County, Texas (the “State Court Action”).

2. Plaintiff St. John l\/lissionary Baptist Church, lnc. (“Plaintiff”) filed its Original
Petition on July 21, 2016 in the State Court Action (the “Original Petition”). The Original
Petition Was not removable at the time of filing as it did not contain any allegation sufficient to
determine the amount in controversy and, as such, Great American could not ascertain that the
case Was removable pursuant to 28 U.S.C. § 1446(b).

3. On October 5 , 2016, Plaintiff filed its First Amended Petition in Which it for the
first time raised allegations regarding the amount in controversy from vvhich Great Arnerican
could ascertain that the case vvas removable pursuant to 28 U.S.C. § 1446(b)(3). This is a civil

action over Which this Court has original jurisdiction pursuant to 28 U.S.C. § 1332(a)(1), and is

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one which may be removed to this Court pursuant to 28 U.S.C. § 1441(a), because the case is a

civil action between citizens of different States, wherein the matter in controversy exceeds the
sum of $75,000, exclusive of interest and costs.

4. This case is an insurance coverage dispute involving ExecPro Nonprofit
l\/lanagement Liability Policy No. EPP2452813 (the “Policy”) issued by Great American to St.
Johns Missionary Baptist Church. Plaintiff` asserts causes of action against Great American for
violation of the Deceptive Trade Practices Act, breach of contract, late payment of claim and
money had and received. See Exhibit “l-H,” Plaintiffs’ First Amended, 1111 E.l through 5 at
pages 3 through 5. Plaintiff contends that Great American owes under the Policy certain
amounts. See Exhibit “1-H,” Plaintiff`s First Amended Petition, 11 D.

5. Plaintiff St. John Missionary Baptist Church, Inc. was and is at the time of this
filing incorporated under the laws of the State of Texas and has its principal place of business
in Texas. Under applicable law, therefore, Plaintiff (both now and when this action was filed)
is a citizen of the State of Texas.

6. Defendant Great American was and is at the time of this filing incorporated
under the laws of the State of Ohio and has its principal place of business in Ohio. Under
applicable law, therefore, Defendant Great American (both now and when this action was
filed) is a citizen of the State of Ohio.

7. Because Plaintiff is a citizen of Texas and Defendant is a citizen of Ohio,
complete diversity of citizenship exists among the parties pursuant to 28 U.S.C. § 1332(a)(1),
(c)(l) both now and at the time of the action’s filing.

8. Although Great American disputes liability, the amount in controversy
requirement under 28 U.S.C. § 1332(a) is met by the amount of recovery sought by the
Plaintiff. Specifically, the First Amended Petition expressly states that “Plaintiff` seek [sic]

monetary relief damages in excess of $l,OO0,000.” See Exhibit “1-H,” 11 D at page 3. In

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addition to the claimed actual damages, Plaintiff seeks recovery from Great American of

statutory damages, exemplary damages and attorneys’ fees. See Exhibit “1-H,” 11 H at page 6.

9. Consequently, the amount in controversy requirement under 28 U.S.C. §
l332(a) is satisfied by the total amount of recovery sought by the Plaintiff from Great
American.

1(). This Court therefore has original jurisdiction over this action under 28 U.S.C. §
1332(a), and removal of this action to this Court is proper under 28 U.S.C. § 1441.

11. Pursuant to 28 U.S.C. § l446(a) and Local Rule 81.1, true and correct copies of
all documents filed in the State Court Action, including the First Amended Petition, are
included in the lndex of Documents attached hereto.

12. A jury was demanded in the State Court Action.

13. For these reasons, this action is properly removable from the 162nd District
Court for Dallas County, Texas to the United States District Court for the Northern District of
Texas, Dallas Division, such being the district and division where the State Court Action is
pending.

14. Promptly after the filing of this Notice of Removal, Defendant shall give written
notice of the removal to Plaintiff through its attorney of record and to the clerk of the state
court as required by 28 U.S.C. § 1446(d).

15. Great American does not waive and specifically reserves any and all objections,
exceptions or defenses to the First Amended Petition.

WHEREFORE, Defendant requests that this action now pending against it in the
District Court of Dallas County, Texas be removed to the United States District Court for the
Northern District of Texas, Dallas Division, as an action properly removable thereto and seeks

all other relief to which it may be entitled.

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Respectfhlly submitted,

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ATTORNEYS FOR GREAT AMERICAN
INSURANCE COMPANY

CERTIFICATE OF SERVICE

Gn October 31, 2016, l electronically submitted the foregoing document with the clerk of
the court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. 1 hereby certify that l have served all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure:

Jonathan Chatmon

L. CHATMON & ASSOCIATES

9894 Bissonnet Ste. 303

Houston, Texas 77036

ATTORNEYS FOR PLAINTIFF ST. JOHN
MISSIONARY BAPTIST CHURCH, INC.

/S/Vz'ncent J. Ansl'aux
Vincent J. Ansiaux

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